                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION


MITCHELL PURDOM                                                               PLAINTIFF

v.                               CASE NO. 3:16-CV-3072

ROGER MORGAN in his official capacity
as City Attorney for Mountain Home; and
DON LEWIS and JUDY LEWIS, individually
and in their capacity as trustees of the
Lewis Family Trust                                                        DEFENDANTS

and

LESLIE RUTLEDGE, Arkansas Attorney General                             AMICUS CURIAE


                                  OPINION AND ORDER

       On January 10, 2017 , this Court entered an Order administratively staying this

case until the enactment of Senate Bill 25 , which was then pending in the Arkansas

General Assembly, and which would amend Ark. Code Ann. § 18-16-101 , the statute

being challenged by Plaintiff Mitchell Purdom in this case . See Doc. 45 . On February

17, 2017 , Mr. Purdom informed the Court that the bill in question was enacted as Act 159

on February 14, 2017, amending Ark. Code Ann . § 18-16-101 . See Doc. 48. Accordingly ,

Mr. Purdom requested "that the Court end the current administrative stay and issue a

briefing schedule" on his pending Motion for Declaratory and Injunctive Rel ief (Doc. 33) .

See Doc. 48 ,   ~   4. On February 21 , 2017 , Amicus Curiae Arkansas Attorney General

Leslie Rutledge ("the AG") filed a Response, agreeing that the bill was enacted as Act

159, and that it amends Ark. Code Ann . § 18-16-101. See Doc. 49 . The AG further




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pointed out that Act 159 is currently expected to become effective on August 4, 2017 .

See id.   at~   2.

          The AG contends that Mr. Purdom 's claims are mooted by Act 159, and that as

amended by Act 159, Ark. Code Ann . § 18-16-101 comports with older authority upholding

its constitutionality. See id.   at~~   1, 3. Presumably, Mr. Purdom disagrees. See Doc.

44. The AG posits that before the Court sets any briefing schedule on Mr. Purdom 's still-

pending Motion for Declaratory and Injunctive Relief (Doc. 33), Mr. Purdom should "be

required to amend his complaint to specify which constitutional challenges, if any, he

intends to bring against Section 18-60-101 as amended by Act 159, and articulate any

such challenges in light of Act 159." (Doc. 49 , ~ 5). And if Mr. Purdom declines to amend

his complaint, the AG contends his complaint should be dismissed as moot. Id.

          The Court agrees that Mr. Purdom should be required to amend his complaint to

set forth what challenges, if any, he intends to bring against Ark. Code Ann.§ 18-16-101

as amended by Act 159. However, in light of the apparent disagreement between Mr.

Purdom and the AG as to whether or to what extent Act 159 moots Mr. Purdom 's original

claims , the Court does not believe he should be prohibited from including in his amended

complaint any of the challenges brought in his original complaint against the pre-Act 159

version of Ark. Code Ann.§ 18-16-101. In other words, the Court intends to impose a

deadline by which Mr. Purdom must file an amended complaint, setting forth all

constitutional challenges he wishes to bring (and all corresponding relief he wishes to

seek) against Ark. Code Ann . § 18-16-101 , whether in its pre-Act 159 form , or as

amended by Act 159, or both . Mr. Purdom 's amended complaint should not include any




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claims against original Defendants Don Lewis and Judy Lewis, as his claims against them

have already been settled and dismissed with prejudice. (Doc. 38). 1

       The filing of this amended complaint will necessarily moot Mr. Purdom 's currently-

pending Motion for Declaratory and Injunctive Relief (Doc. 33), since that Motion is

premised on the claims brought in Mr. Purdom 's original complaint, which will be

superseded by his amended complaint. However, should Mr. Purdom and/or Defendant

Roger Morgan wish to move for summary judgment on Mr. Purdom's amended

complaint-whether pursuant to a joint stipulation of facts as before, see Doc. 34, or under

some other circumstance-then Mr. Purdom will certainly be permitted to re-raise any of

the arguments he previously raised in support of his Motion for Declaratory and Injunctive

Relief (Doc. 33) , to whatever extent they are necessary to support the claims brought in

his amended complaint. In the event that a dispositive motion on the amended complaint

is filed by any party, the AG will be permitted to file a response. Any such motion or

response should address not only the merits but also the justiciability of the claims on

which judgment is sought.

       IT IS THEREFORE ORDERED that Plaintiff Mitchell Purdom shall file his amended

complaint, as described above, by no later than March 15, 2017. Immediately upon the

filing of Mr. Purdom 's amended complaint, the Court will lift the administrative stay, and

will direct the Clerk of the Court to re-open this case.

       IT IS FURTHER ORDERED that the Preliminary Injunction entered in this case on

July 8, 2016 (Doc. 23), enjoining Mr. Morgan in his official capacity from enforcing Ark.




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 Of course Mr. Purdom should nevertheless plead whatever facts relating to the Lewises'
conduct he believes are necessary to support his constitutional challenges to the statute .
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Code Ann . § 18-16-101 against Mr. Purdom , shall remain in effect throughout the

pendency of this action .             J
       IT IS SO ORDERED on this   ~ay of Febr ary, 2017.

                                                     L. B      OKS
                                                            ES DISTRICT JUDGE




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